                                                                              City MSJ
                                                                              Exhibit K



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH
                          CAROLINA WESTERN DIVISION
                           Civil Action No.: 5:21-CV-491-BO

    PATRICK D. LANDS,                      )
                                           )
                                           )
                        Plaintiff,                  DEFENDANT’S SECOND
                                           )
                                           )        SUPPLEMENTAL
                v.                         )        RESPONSES TO
                                           )        PLAINTIFF’S FIRST SET OF
    CITY OF RALEIGH,                       )        DISCOVERY REQUESTS
                                           )        TO DEFENDANT
                          Defendant.       )



Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, the City of

Raleigh (the “City”) serves upon Plaintiff Patrick D. Lands (“Plaintiff”) by and

through counsel, the following responses and objections to Plaintiff’s First Set of

Discovery Requests to Defendant.


                             GENERAL OBJECTION

   1. The City objects to Plaintiff’s First Set of Interrogatories in their entirety to

      the extent that they, or the definitions or instructions contained therein, seek

      to impose a duty to respond beyond what is required by the Federal Rules of

      Civil Procedure or previously agreed-upon by the parties and memorialized in

      the Report of the Parties’ Planning Meeting [D.E. 16] that was approved and

      adopted by the Court on March 29, 2022 [D.E. 17].

   2. The following responses are based on information currently available to the

      City. These responses are given without prejudice to the City's right to produce



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                                                                          City MSJ
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   or rely on subsequently discovered information.

3. Further discovery, independent investigation, or other analysis may lead to the

   discovery of additional information, which may lead to additions or changes to

   these responses.

4. Nothing in these responses is intended to be or should be construed as a waiver

   of the attorney-client privilege, the work product doctrine, or any other

   protection. Inadvertent production of such protected information is not

   intended to be and shall not operate as a waiver of the applicable privilege.

   Any information withheld on the basis of such privilege will be identified on a

   privilege log as required by the March 22, 2022 Report of the Parties’ Planning

   Meeting at section (3)(p) of the Discovery Plan [D.E. 16].

5. The City reserves the right to condition the production of documents containing

   confidential or proprietary information or trade secrets on the Court's issuance

   of a confidentiality or protective order governing the disclosure of any such

   information.

6. The production of any documents or information by the City is made without

   waiver, and with preservation, of any privilege or protection against disclosure

   afforded to documents containing confidential or proprietary information or

   trade secrets.

7. The City objects to the Document Requests to the extent that they would

   require the City to produce documents or information covered by the Personnel

   Privacy Act, N.C.G.S. § 160A-168, or that would require the City to violate the



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     privacy interests of others.

  INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS
                      (AND OTHER ITEMS)

   1. Please state the name of all other employees of the Defendant’s

      Police Department who have been disciplined for any of the same

      reasons as Plaintiff.

RESPONSE:          See Responses to Interrogatory 2, which are incorporated

in response to Interrogatory 1 by reference herein.

   2. For each individual identified in number 1, please provide a copy of the

      employee’s personnel file, including a copy of any investigation done into

      the allegations against the employee:

RESPONSE:

The City objects to this Interrogatory on the grounds that the request for

the identity of non-party employees who have been “disciplined for any of

the same reasons as Plaintiff” is vague, ambiguous, and overbroad. Without

waiving said objections, the City has agreed to provide the following

disciplinary files for Raleigh Police Department employees who were

investigated for and/or were disciplined from January 1, 2012 through the

present   for    violations   of    Raleigh     Police   Departmental    Operating

Instruction (hereinafter “DOI”) DOI 1100-01 (Executive Police/Conduct

Unbecoming/Integrity); DOI 1104-07 (Sick Leave);                 or DOI 1106-07

(Secondary      Employment);       or,   City of   Raleigh   Standard    Operating

Procedure (hereinafter “COR SOP”) 300-9A or COR SOP 300-20.


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Furthermore, the City continues to object to this Request and Interrogatory

1 and provides the aforementioned files without waiving its objection on the

ground that the files produced in response to this Request and

Interrogatory 1 are not relevant to any party's claims or defenses as the

City’s relevant decisionmakers during the time period in which the events

alleged in Plaintiff’s Complaint occurred are unaware of any other RPD

employee who knowingly applied for, was paid, or otherwise received leave

benefits for a year or more to which they knew they were not entitled, and

are unaware of any employees who engaged in a lie by omission in order to

obtain said benefits.   The City does not waive its continuing objection to

this Request and Interrogatory 1 to the extent that it seeks information of

non-party employees that the City is prohibited from disclosing by

Personnel Privacy Act, N.C.G.S. § 160A-168 and because such unlawful

disclosure invades privacy rights of persons not a party to this litigation.

The City responds to this Interrogatory subject to the Court's issuance of

the September 26, 2022 Stipulated Protective Order (D.E. 30] governing the

disclosure of any such information.

Finally, the City objects to this Request and Interrogatory 1 on the grounds

that: 1.) the relevant decisionmakers involved with Plaintiff’s discipline

were not involved in many, if not most, of the discipline issued to Employees

22 through 96; 2.) while the discipline found in all documents being

produced was for policy violations for which the Plaintiff was cited, the



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employees were not similarly situated in that the nature of the offenses

committed varied in degree of seriousness as compared to the serious

nature of Plaintiff’s policy violations; 3.) the facts surrounding the

discipline, in many, if not most cases, were not sufficiently similar to the

facts surrounding Plaintiff’s discipline; and, 4.) the request for discipline

dating from 2012 is unreasonable and irrelevant, particularly because the

Department was under a different administration with different executive

management in 2019, when Plaintiff was disciplined.          Subject to the

objections previously asserted, the City provides documents Bates #000365

through #004104.




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                                                                            City MSJ
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                     CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing City’s
Responses to Plaintiff’s First Set of Discovery Requests to Plaintiff was
served by email to opposing counsel to the following address:


                               Valerie L. Bateman
                          NEW SOUTH LAW FIRM
                      Email: valerie@newsouthlawfirm.com

                                 June K. Allison
                          NEW SOUTH LAW FIRM
                       Email: june@newsouthlawfirm.com


       This the 9th day of November, 2022.

                                                Respectfully submitted,

                                                CITY OF RALEIGH
                                                Robin L. Tatum, City Attorney

                                    By:         /s/ Alice Tejada
                                                ALICE TEJADA
                                                Senior Associate City Attorney
                                                NC State Bar No. 23909
                                                P.O. Box 590
                                                Raleigh, NC 27602
                                                Telephone: (919) 996-2004
                                                Facsimile: (919) 996-7021
                                                Email: Alice.Tejada@raleighnc.gov
                                                ATTORNEYS FOR DEFENDANT CITY
                                                OF RALEIGH




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                                                                     12021-003

                 FINDINGS & RECOMMENDATIONS




 Employee 33                                Assigm11c11t: Nor/11 District I 82
  Complainant                         RPO
  Allegation                          DO11100-01 Executive Polices
                                      DO l 1l 04-01 : Rules of Conduct
                                      0011104-02: Deportment
                                      DOI 1104-04 Compliance with Laws
                                      DO11106-07: Secondary Employment
                                      DOl 1108-04: Evidence and Found Property
                                      DOI 1108-05: Submission of Police Reports
                                      DOI 1109-14: Domestic and Family Violence.
                                      DOI 1109-17 Mobile Computer Tenninals
                                      DO11109-18: Body Worn Cameras



Allegation #1:

Date/rime of Occu rrence: November 13, 2020 at 1908 hom s




Facts:




             CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                            000885
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                                                                          12021-003




DOI 1100-01 Executive Policies stresses the importance of integrity. Officers are to be
forthright and honest and to maintain the highest ethical standards of character and
conduct. Officers are accountable for his/ her actions and duties. Officers will
demonstrate professional accountability by taking responsibility for his/her actions and
decisions. It is a violation of D011100-01 for Employee 33 to have lied to his supervisor
and other departmental employees when questioned about his actions related to this
incident. These actions were dishonest and a displayed a lack of integrity. This fact was
exacerbated by Employee 33' s staging the tire change.




As to the allegation of RPO DOI Violation 1100-01Executive Policies, it is determjned to
be sustained.

Findings: As to the allegations of RPD Violation 1104-02 Deportment and RPD
Violation 1100-01 Executive Policies: Sustained

Recommendations: Termination from Employment. This allegation is supported
on its own by evidence; however, the recommendation is combined with the
remaining allegations.




                                                                                       2

              CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                   000886
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                                                                            12021-003

 Allegation #2:

 Date/rime of Occurrence: Febmary 2, 2021 at 2307 hotu·s

It is alleged that Employee 33      failed to complete a case report as required by policy
during a domestic violence investigalion at 1355 Garden Crest Rd.

    •    Detailed interviews were conducted with the involved officer, wih1ess officers and
         civilians.

    •    Available reports were reviewed.

Facts:




Findings: As to the allegation of RPD Violation 1109-14 Domestic and Family
Violence: Sustained

Recommendation: Termination from employment is recommended. Th is
discipline is combined with the remaining allegations. While a violation of this
policy would not necessarily warrant a recommendation of termination from
employment, the seriousness and degree of the combined actions of Employee 33
ru:e aggravating factors and the recommendation is termination from employment.



                                                                                         3

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                    000887
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                                                                            12021-003

 Allegation #3:

 Date/fime of Occurrence: Febmary 12, 2021 at 0049 hours

It is alleged that Employee 33        was rude and disrespec tful while speaking with a
female citizen during a trespassing call at the Hyatt hotel at North Hills on the above-
mentioned date.

    •    Detailed interviews were conducted with the involved officer, witness officers and
         civilians.

    •    Available reports were reviewed.

Facts:




As to the allegation of RPD 001 Violation 1104-01 Rules of Conduct, it is d etermined to
be sustained.

As to the allegation of RPO 00[ Violation 1104-02 Deportment, it is determined to be
sustained.


Findings: As to the allegations of RPD Violation 1104-01 Rules of Conduct and 1104-02
Deportment: Sustained



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               CONFIDEN TIAL - SUBJECT TO PROTECTIVE ORDER                                000888
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                                                                              City MSJ
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                                                                  12021-003

Recommendation: Termination from employment is reconu11ended. This
discipline is combined with the remaining allegations. While a violation of this
policy would not necessarily warrant a recommendation of termination from
employm ent, the seriousness and degree of the combined actions of Employee 33
are aggravating factors and the recommendation is termination from employment.


Allegation #4

Datc/fimc of Occurrence: February 16, 2021 at 0222 hours




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                CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                      000889
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                                                                        12021-003


                                                                                                .




As to the allegation of RPO DOI Violation 1104-01 Rules of Conduct, it is determined to
be sustained.

As to the allegation of RPO DOI Violation 1104-02 Deportment, it is determined to be
sustained.

As to the allegation of DOI Violation 1109-18 Body Worn Cameras, it is determined to be
sustained.

Findings: As to the allegations of RPD Violation 1104-01 Rules of Conduct, 1104-02
Deportment and 1109-18 Body Worn Cameras: Sustained

Recommendation: Termination from employment is recommended. This
discipline is combined with the remaining allegations. While a violation of this
policy would not necessarily warrant a recommendation of termination from
employment, the seriousness and degree of the combined actions of Employee 33
are aggravating factors and the recommendation is termination from employment.


Allegation #5:

Date/Time of Occuri·ence: February of 2021

It is alleged that Employee 33        failed to complete a police report and failed to
properly store found property in February of 2021.


                                                                                     6

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                                                                              12021-003


    •    Detailed jnterviews w ere conducted with the i1.1volved officer, witness officers and
         civilians.

    •    Available reports were reviewed.

Facts:




Findings: As to the alle gations of RPO Violation 1108-04 Evidence and Found Property,
1108-05 Submission of Police Reports: Sustained

Recommendation: Termination from employment is recommended. This
discipline is combined with the remaining allegations. While a violation of this
policy would not necessarily warrant a recommendation of termination from
employment, the se!'iousness and d egree of the combined actions of Employee 33
are aggravating factors and the recommendation is termination from employment.




                                                                                            7

               CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                    000891
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 Allegation #6:

It is alleged that Employee 33 worked more tlum the approved number of hours (240)
during on-duty, secondary and exh·a duty employment on multiple 28-day pay cycles
between July of 2020 and Febl'Uary of 2021.

Date ime of Occurrence: These allegations span the timeframe between 11.13.20 -
2.28.21

Facts:

Employee 33           has been involved in multiple policy violations over the time period
 in question.

    •    Detailed interviews were cond ucted with the involved officer and other witnesses.

    •    Available teports and video surveillance were reviewed.

On March 1, 2021, a seven-month review of Employee 33 's on duty, secondary
employment a nd exh·a duty (off duty) hours worked was completed.

During the pay cycle from August 15, 2020 to September 11, 2020, Employee 33worked
186.50 hours of off duty. During that time, he worked 139.50 Regular hours. He worked
a total of 326 total hours during this pay cycle.

During the pay cycle from September 12, 2020 to October 9, 2020, Employee 33 worked a
total of 193.75 hours of off duty. During this time, he worked 163.00 Regulal' hours. He
worked a total of 356.75 hours during this pay cycle.

During the pay cycle from October 10, 2020 to November 6, 2020, Employee 33worked a
total of 169.50 hours of off duty. During this time, h e worked 186.50 Regular hours. He
worked a total of 356.00 hours during this pay cycle.

During the pay cycle from November 7, 2020 to December 4, 2020,Employee 33 worked
a total of 158.00 hours of off duty. During this time, he worked 136.00 Regular hours. He
worked a total of 294.00 hours during this pay cycle.

Du1fag the pay cycle from December 5, 2020 to January 1, 2021,Employee 33 worked a
total of 164.00 h ours of off duty. During this time, h e worked 136.00 Regular hours. He
worked a total of 300.00 hours during this pay cycle.

Dming the pay cycle from January 2, 2021 to January 29, 2021, Employee 33 worked a
total of 126.50 hours of off duly. During this time, he worked 124.00 Regular hours. He
worked a total of 250.50 hours during this pay cycle.

Each of these examples constitutes a separate violation of DOI 1106-07 Secondary
Employment.

                                                                                         8

                CONF IDENTIAL - SUBJECT TO PROTECTIVE ORDER                               000892
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DO I 1106-07 s h·esses that employees shall schedule n o more than a total o f 240 hou rs of
on-du ty work a nd Secondary or Exh·a Duty Employment hours during any one 28-day
cycle. Typically, officers will reach the two hundred and forty (240) h our limit through a
combination of 168 ho urs of on-duty time and 72 hours of Seconda ry or Extra Duty
Employment.

Employee 33 was interviewed regarding each of these a llegation s by the Rale igh Police
Department Office of Professional Standards. In each instance, he admitted to e ngaging
in the behavior listed in the allegation.

As to t·he a llegation of RPO DOI Violation 1106-07 Secondary Employment, it is
d etermined to be s ustained.

Findings: As to the a llegations of RPD Violation 110607 Secondary Employment:
Sustained

Recommendation: Termination from employment is recommended. This
discipline is combined with the remaining allegations. While a violation of this
policy would not necessarily warrant a recommendation of termination from
employment, the seriousness and d egree of the combined actions ofEmployee 33
are aggravating factors and the recommendation is termination from employment.




It is alleged tha t Employee 33 allowed his DCI certification to lapse for a significant
amount of time and he was unable to perform tasks regarding DCI entries c1ssigned to h im
by his supervisor.

Date/Time of Occurrence: May 12, 2021

Facts:




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 As to the allegation of RPO DOI Violation 1109-17 Mobile Computer Terminals, it is
 determined to be sustained.

 Findings: As to the allegations of RPO Violation 1109-17 Mobile Computer Terminals:
 Sustained

Recommendation: Termination from employmen t is recommended. This
discipline is combined with the remaining allegations. While a violation of this
policy would not necessarily warrant a recommendation of termination frorn
employment, the seriousness and degree of the combined actions of Employee 33
are aggravating factors and the recommendation is termination from employment.



Allegation #8

It is alleged that Employee 33:'s personal vehicle was not properly registered as required
by North Carolina General Statute, He has consistently been using this vehicle to travel to
and from work

Oate/fime of Occuinncc: May 12, 2021

Facts:




As to the allegat-ion of RPD DOI Viola tion] 10404 Compliance with Laws, it is determined
to be sustained.

Findings: As to the allegations of RPO Violation 1104-04 Compliance with Laws:
Sustained

Recommendation: Termination from employment is recommended. This
discipline is combined with the rema.i ning allegations. While a violation of this
policy would not necessarily warrant a recommendation of termination from
employment, the seriousness and degree of the combined actions of Employee 33
are aggravating factors and the recommendation is termination from employment.




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    Recommendation:                                                                            ...
    Termination from employment is recommended. While individual violations of
    these policies would not necessarily warrant a recommendation of termination
    from employment, the seriousness and degree of the combined actions of Officer
Employee 33 are aggravating factors and the recommendation is termination from
    employment.



    Major D.A. Dike
    Office of Professional Standards
    Raleigh Police Department
    May 18,2021


   Served by:      ~~      \) )..,~

    Received by:   ~   1, ~ -
    Date:




                                                                                 Il

                   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                         000895
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Coyne, Amanda

From:                               Riggsbee, Karen
Sent:                               Tuesday, Apri l 12, 2016 1:08 PM
To:                                 Marley, Greer; Hairston, Terry; Matthews, Justin; Davis, Anthony
Cc:                                 Perry, Joseph; Coyne, Amanda; Hall, Brian
Subject:                            FW: !AU findings - notification of command [confi denti al personnel matter]



Sgt. Marley,

This is a notification of findings for IAU case 12015-037 . You are being sent this notification as the involved o fficer is your
immediate subordinate .

The emp loyee has been notified of the outcome. No further action is necessary on your parl.

IAU com laint number com lainant:                   12015-03 7/RP D

Involved Em lo ee:                                 Employee 64

Nature of lnvesti atio n and Final Find in s:

        1. Departmental Rule Violation {1104-04) Compliance with Laws, Regulations and Orders - Sustained

Recommend ation for above:

        1. Termination of Employment

Nature of Investigation and Final Findings:

        1. Departmental Rule Violation (1104-07) Sick Leave - Sustained

Recommendation for above :

        1. Termination of Employment



This record is for your information only. Further dissemination b an addressee is rohibited.

Plea se le t me know if you need further information, have questions, or concerns.

KHR

Karen Riggsbee, Major
Office of Professional Standards
Raleigh Police Department
President - National Interna l Affairs Investiga tors Association
(919) 996-3155



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                            CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                            001827
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                                            RALEIGH POLICE DEPARTMENT
                                               COMPLAINT FORM
                                                            Rev. 8/ 11


Date Reported:           Augc1st 27, 2015 Time Reported:                 15:15       Complaint Number:           120] 5-037

Accused:                        Employee 64                                 M.O.              FOPS/DTD D
                                     (Name)                                 (Rank)           (Assig ned Division) (Code N o.)

Complainant:                             RPO                               6716 Sjx Forks Rd., Raleigh NC 27615
                                        (Name)                                              (Address)

                                                        9J 9-996-3155
                               (Horne Phone)             (Work Phone)                 (Date of Birth)      (Sex)          (Race)

Incident:            August 22,2015                 12:00                218 Cabarrus Sheet W Raleigh, NC 27601
                           (Date)                     (Tim e)                                 (Location)

 Incident Synopsis:
 lt is all eged t hat Employee         64      lied to Sgt. J.D. Ellington durin g an official inquiry into
 his sick leave nole.




Specific Allegations: ·1. Departmental Rule Violation: 1104-0,l Compliance with Laws, Regulations,
                          and Orders
                           2. Departmental Rule Violation: 1104-7 Sick Leave


 How Reported: (check one): ~in person O by letter Oby te lephon e O by em.ail
 Witness(es):
            1.
            2.
            3.
            4.

                                          ________.......,__..............,...,,.__~-------------
Complaint Form Completed By: Sergeant B.W. Hall



 I, Officer, .Employe~ 64         , acknovvledge that I have rec ived a copy of this compla int fonn.
                           /


 Employee 64                                                                                     Cf/c-; / ' ;
        .    r/   (..·
       Officet s1gnature and code number                                                                Date




                                CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                       001828
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                     RALEIGH POLICE DEPARTMENT
                      INTERNAL AFF.A IRS UNIT SUMMARY
                                             Rev. 1/97

                                                                     fTLE:             120 15-037


Accused: Employee 64

Complainant:
                 -RPD
                   - - - -- - - - -- -- - -- - - - -- - - - - - -
Date Reported:    August 27, 20 15        Date Investigation Completed: - - -- -- --

Court Disposition:           □ Guilty                        0     Not Guilty            0    N.A.

ALLEGATION:                                                                            DISPOSITION:
1. Depmimental Rule Violation: 1104-04 Comp liance with Laws                              s
2. Departmental Ru le Vio lation: 11 04-07 Sick leave                                     s
3.




Complaint Disposition Legend:

S = Sustained         NS= Not Sustained                  U = Unfounded

PF= Policy Failure           PC = Proper Conduct                         O   = Other
Su mmary Filed By:                                 Sergeant B.W. Hall           &JI! ,:/-;~-/~
Case Reviewed By:




                                                         Captain


                                                                                                Dale
                                                                                          q




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                                                                                12015-037



                   FINDINGS & RECOMMENDATIONS




   Employee 64                 Assig11111eHt: FOPS/DTD/D

    Complainant                RPD
    Allegation                    •   DOT Violation (1104-0-1) Compliance with Laws,
                                      Regulations and Orders
                                  •   Deparbnen taI Rule Violation (1104--07) Sick Leave



    Allegation #1: DOJ Violation (110404) Complfance with Laws, Regulations and Orders

    Date/Time of Occunence: August 22, 2015 and September 4, 2015/Various

    Facts: On the aforementioned dates, Employee 64 was questioned by Lwo Field
    Operations supervisors and lnternal Affairs Sergeants concerning his recent sick ]eave,
    and more sp ecificall y, the date and time h e received his doctor's note releasing birn
    back to full duty . Although given a1T1p]e opportunity to be trnthful during his
   questioning, Employee 64 chose to provide false information to his supervisors and
    then to Internal Affairs Sergeants during an Adrninish·ative Investigation. Officer
Employee 64was h·uthful only ·w hen directly confronted by an Internal Affairs Sergeant at the
   end of the intervi ew . Employee 64 admitted to making poor choices and not being
    truthful during the investigations.

    The behavior exhibited by Employee 64 is contrary to the Lm,v Enforcement Code of
    Ethics, violates RPD DOI and is not conduct expected of a law enforcem ent officer. The
    viola tion of DOJ 1104-04 is sustain ed.

    Findings: As to the allegation of DOI Violation (1104-04) Compliance with Laws,
    Regulations and Orders, it is deemed that the allegation be classified as Sustained.

    Recommendation: Termination from Employment.

    Aile ation #2: DOI Violation ('U04-07) Sick Leave

    Date/Time of Occurrence: August 2015 /Vm'ious

    Facts: On September 19, 2014, Employee 64 received a Disciplinary Action Form
    related to DOJ 1104-07 (Sick Leave) for numerous violations of this policy. As c1 part of
                                                                                       Page J of 2

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                                                                                   12015-037

   Employee 64 's d iscipl ine c1ssociated vvith this DA, Employee 64 w c1s required to
    su bmit a d octor's cer tificate to his supervisor u pon h is retu rn to duty for a ny uses of
    sick leave for a one yem per iod. The DA also stipu la ted that failure to abi de by th is
    r equ irem en t would s ubject Employee 64 to discip li nary action, up to and including
    dis missal.

    O n Au gu st 1.7, 2015, Employee 64 rep orted for w ork (in-serv ice training) after caJling
    o ut s ick since July 24, 2015. Employee 64 and his Ser geant texted back and fo rth
    concernfog his doc tor's cer tificate. Employee_64 indicated he d id not have the note
    witl, h im a nd he w ould be la te for training if he wen l h ome to retrieve it. Officer
Employee 64's ser ge,rnt advised him to bring his note w hen he returned for regular duty .
    When ,Employee 64 returned for ·w ork, he p roduced a doctor's certificate that vvas time
    s tamped after the original text messages.

    Upon review of a tirneli11e sup plied by Employee 64 's sergean t, it is app arent Offi cer
Employee 64c.t id n o t h ave a d octor's cerli ficale to return to wor k when questioned , via tex l,
   by his ser geant on Augusl 17, 2015. There is n o indica tion from any information O fficer
          64
Employee p rov ided tha t he was seen by a p hysician un til after his supervisor rey_uested a
   cer tifirnte for him Lo r eturn to full duty .

    When Employee 64 reh:1 rned lo vvork (i n-ser v ice frai_ning) on Au gust 12, 2015, witho ut
    a d octor's certifica te, he w as in violat·ion o f Hw req u irements of the DA he 1·eceived on
    September 19, 2014. Pmth ermore, h e w as dishonest w ith h is ser gean t when he
    ind icated he had been released by a d octor to return to work. Based on all the
    information provided, by Employee 64. h is sergea11t a nd tJ,e Li me stamped d octor's
    cerlificate, th e allegat ion ot IJUJ Violation (1104-07) Sick Leave is sus tain ed.

    Findings: As to the allegation of DOI Violation (1104-07) Sick Leave, i t is deemed tha t
    the allegation be classified as Sustained.

   Recommendati on: While this viola tion alone may not n ecessa rily result in a
   recommendation for termina tion, considered in conju nction wi th the v iolation oi DO T
   1104-04 (Compliance with Lav,rs, Regulations and Ord ers), the recommendatio n for this
   violation is tern,ination from empl oymen t.




   M ajor K.H. Riggsb ee
   Office of Professio n al Standards

                      w
   Raleigh Police D epartmen t
   March 23, 2016



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                                                                                      12020 -006


                  FINDINGS & RECOMMENDATIONS




 Employee 91                      Assig11111c11t: Admiu/Acadcmy

  Complainant                     RPD

  AlJe ation                                                            /lnt 'grity

Al1egation 1: DO I i-J 0(Hrl: Executiv e 1>0Ji cics/ lnt gr ily

Date of Occurrence: r-cbru r1. ry I 7, 2020

Facts: ll is nl leg :d th e tEmployee 91        was untru thful vvhcn qu ,.-tinned by Sgt.                 J.J .
Yard ley nbo ut a n in idenl involving her los l Rl 1 D 1·ccru it id , ntification Cilrd.

    o   De luiled inte rvi •ws wen' ondu tcd with the involved offlccr and oH,cr w itn sses.

    0   Available re1 ort:, were re vi ewed.

The .inve ·hgal·ion r '\ t.:<1led tha l Employee 91             wn s dislw1ws l vvi lh blllh Tn1ining
Offi cr Ma .-Hio and Sgt. J.J. Yr1rclky nbout h ·r tel phnnc co nta cl \•vitl1 ,1 111emb · 1· of the
Garner PoJicc Dcp·utmenl regarding Employee 91                    los t and found C ity of Raleigh
identifica tion carcl. Employee 91 \,vc1 s nskcd scvernl timt.1s by Sgt. J.J. Y.:irdlr.:y if she h:1d
spoken over the tclcphon' with a rnen1b ·r of the Carn 'r Police LJcparlmcnl tt vvhi h
Employee 91 ansvvcr ,d i11 lht.: ncgt1livc and stated th a t sh' ha -I nor s poken lo il rn cmbcr
of th e Carner () o li ' l' DL•pi:H Lm ent. A::lditiona lly,Employee 91 was untruthful wh ·n s he
s ta ted to S l. Yardley Lh al s he ha d r •cciv d a voicemai l from a C:nrncr Poli e Offi er
regarding hE.r found idenlifi ation.

Th , witness .s w ere int 'rview ·d c1nd r1. II sta tcm •nt:s Wt'rc r •cord 'ci an d suhrn itt 'd for
Lrans -ription.


The ]21st S ssio n of the Raleigh Poli e A ademy re rui ts r ceive -l a cu1Ti ulum / o le
m 1-111md outlining disl1 oncsty and int •grity . Within Part 2: Rul •s of Conduct of tha t
manual in the sccti ll'\ titled ''I ishm ·ty" on p ag, ·12 il s tntcs, "Dis/wn, sly wifl 110/ he
                                                                                            1



co11doned.     healing, slenli11g, or dislwne.sly 1.uifl res u/J in a /'('Co111111errdation for dis111i, . nl".
V\/lwn inlerviewt i, Employee 91 acknowledged lha l· she wa s not truth ful an -1 \Vas
dishonest when askc I gucs ti 1ns related to thio in ident and tha t she ha l lied to both
Office r Maca rio and Sgt. Ywrdl •y.



                                                                                                  Pag I of 2
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                                                                                                 12020 ··006


 In c1dd ilion to the! Acad emy cu rricu lum/code manua l di rective, i{alcigJ, Police IJOl ] 100-
01: Exec utive l'olicics outlines integrity . Tlw d ircctivt• st.1les, "\!\Ir slrive to /Je.forl/1rigl1! 011rl
!tonc,c;/ in nil nffrrirr. n11d lo 111ai11 l ni11 l/1C' l1i,1;!1r'sl 111,mrl nnd el!ticnl st1111clr7rds ".f charncl1' r 1111d
co11rf 11ct. We nre ncco1mlrr/Jlc for 011r drll ies nnrl act imts. We wilf freely give reasons.for 011r ncliv11s
11nrl occcpl rr'sponsi/Jility for f/,e//1 Employee 91
                                           11
                                                •                              s houl d have been honcsl, truthfu l
,11,d sho11ld have act<'d with in tqFily whc11 ;1skcd q ucs tiuns by her :,;upNv isor.


r ind in gs: As t·o tlw a llega tion of DOI ·1100-0 I Exccui-ivc Polic ies ( lnlcgri ly), it 1s
dctcrminl'd lo be: S us taine d

R ecomm e ndati ons : T h e d e te rmined recomm en d a tion is termin a t-ion of e m p loym e nt.


lVlnj or T.G. Vestal /
                             ~
Office of Profess ional S tandar d s
RJ le ig h l'ol ice D e parlm en l
February 21, 2020


Served by,           ~/?!~
Received by,          fj    /t
Dale,~;{,/




                                                                                                              l'agc 2   or 2
                       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                       003309
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                                                                          1202"1-024 & 026


                 FINDINGS & RECOMMENDATIONS




!Employee 95                               Assig11111c11t: SfD I   nJ
 Complainant                               RPD
 Allegation                                DOI 1J 00-01 Executive P lid s
                                           0011104-04 Compliance with Laws,
                                           Regulations and Orders (2)
                                           DOI 1106-03 DO/NCIC Security and
                                           Ace ss
                                           NCGS 14-259 Harboring or Aiding C rtain
                                           Persons
                                           DOI 1104-02 De ortment

Th offi c of Prof •ss iona l ta ndards was ma I:., awar cf Employee 95 's
boyfri "'nd hav ing an a tiv -' Domes ti Vi< Jen e Prot • tion rder in Ju 11 , Of 2021 .
   on erns we r ra ised r gard in her ability to h av' w apons in h 'r home that
w uld place her boyfri nd in violation of the order. Arrang -'rnents \Ver e made for
h l'tost r h "r pc rsona l weapons a t th Poli eF iringRangeand h rclu ty wea p on
at th' ' uth 'ast Disb·i t ·tation. h' w ·ls giv n a dir' t ord •r by a n lnt •rn~1 l !\ffairs
  ·'rg'ant to r •frtin frl m bringing th w , pons ba k into h ·r r ·s ic.I 'n u1 til su ·h
lime that those action · woul l 1 long r p la - him in viola tit n of the order. T hi s
fact i, su pportcd by text messages bdwe -•n Employee 95 and th ·, Internal Affairs
Scrgc.:int.

lnt rna l Affai r.· ·,1s, 12021-024 originat don
    1                                               tob •r 7, 202·1 aft ·r Employee 95
was a1,saultcd b h 'I' liv -•-in boyfrh1 i. Allegations l'claled to v iolali ns of R I
D l 110t1-04 omplian e with Laws, R gul, ti ons and rdcrs wcr 1 •vie I. This
investigation was adm in istrat iv' in nature.

During th' ourn ) of this inv estigation, s •para t •al l ' ations w •re l 'V ied r gn r ling
the abovcm nti n d viol tions a. w II as vio lations of N            14--259 - l la rbor in
or Aid ing ' rtain P rsons. As a r s ult, a separat rimina l investigation was
la unched. A diff r - nt Internal Affairs investiga tor was as ·ig ned to investigate this
rt · w cas whi. h was .riminal in na tu r (12021-026).




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 Aile ation# 1: 12021-024 D 1 Poli y Violation 1104-04               ompliance with Lnws,
 R g ulntions and     rd ~rs.

 Date/Time of Occurrence: Va rious

    •   Deta iled int rv i ws were ond u ted wi th the involv -•d offi er and other
        witnesses .

    •   Available reports were reviewed.

  acts: lt is all c,. cl that Em ployee 95 violated RP O 0011104-04 Compliance with
 Lffws, R gul.:1tions and Orders.

This in terna l investi < tion begc:in as a C's u lt )f c.1 dorn cs ti c incid n.t that o 'urred
at her reside nce. Ini tial ly, ·he refus d to answer the door and by her own
adm ission, ho1 .d that the responding Raleigh Police Officer. wou ld just go away.
  cv ral ·on erns w ·,re rais -d tha t led to allegations of v iolatio ns of RPD policy and
North arolin           _,neru l Sta tute violatil ns. It was alleged that Employee 95
all owed he r li ve-Jn b< ,friend to perat · lP1 motor vcbi Jc when s h ' knew that his
license was revol 'd. In ad d ition, it \Vas alleged that she vi lated the conditions of
his a ti v Domestic Viol •nee Prate tion Ordcl' w h n she wil lfull.y brou ; h t her
persona l on :I d uty w upons in to l1er rcsid 'nc' ,rnd p rm itted him to have a cess
to tb •111. in violation of 1J dir 'C t ord ·r from a s u perviso r assigned to the ff icc of
P rofessional Standa rd s.

T his inves tiga ti on r evea led th at Employee 95 has been the victim of domest ic
viol •nc ·1t the han ds of herb yfricnd for a signifiecrn t period of time. T he co u ple
h s b •en in a <.la ting rebtio ns bip for approxirnat ly 5 y · ars. uring her in terview
on June 29, 2021, sh den ied ever h ·,w ing been ssault -'d by her boyfriend. Fl. ~r
 ·ta temcnts to · t. Davis d u r ing that interv iew wt.re un tr u thful. The ·Lo ber 21 st
interview revea led th at she has sL1ffe l'ed bruises and black eyes from variou ·
assa ults ::it th hands of h r boyfdend . A a r sul.t of th· blacl eyes, she was forced
to call out si k from work, but mad no attempt to report the in id n ts.

Employee 95 a lm itted tha t s h kn w that lPr boyfriend h ad an activ              \/PO bu t
s ta ted that sh e d id not read th ' rcstr i tions listed on it. 'he further stated the t s he
brought tl1c w ·apons back into b I' rcsidenc ~ as a matt -r of onv 'nicnc for h rself
and for th fa t that sh wantt:.d him to "h:.l saf " in ·id the r -sidcnce w hen she
was working and h was a lo ne at night.




                                                                                              2

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  he admitt d to viola ti n of th' dire t ord •r from the Inte rnal Affai rs supe rviso r
 by knowing ly brining h er weapons ba ck to her resid e n ' th e r by j ~opardizing h r
 boyfriend by vio la tin g the onditions of his activ e DVP .

 This inv stiga tion also r veal d th at Employee 95 allc w ed her bt yfri ' nd to
                                        1


  o ns is ten tl y op rate her motor vc hi le kllow in g tha l his op 'l":.1 tor's licen s was
 indefinH-ly revoked.

 D01 ll04-04 states, "Employees will promptly obey ony /m1 f 11I one/ appropriate order
Ji·o m a higher l'ankin[.; supervisor rewrrd!ess of whelh ,,. the Hnr loyee is 011 or <dlduty lo
 includ ordeJ's relayed by an ojj7 '"I ' r~f 117' same OJ' lesser rnnk. Employ es who do not
prom/7/(y obey lc1M:fiil orders moy he considered i11suhorcli11ctr~ one/ may be su~ject to
 disciplinc11y action or dismissal. "

 These actions r epresent significant conduct violatio ns . In s umm a ry, there is rnnp lc
 •vidcnce to s upport this al lega tion.

 Findin :rs: As to th all ya tion of v io la ti >n of [ 1 1104-04 omp l la n e w ith Law ·,
   rJ crs and R g ulation ·, it is deemed to be SUSTAINED,




 Alie Tation# 2: 12021-024 DOI P li y Violation D l 1106-03 D J/N                 r   Sc ur ity
 and Access

 Date/Time of Occurrence: May 20, 2021 / 1032 hours

    •   Detailed intervi ews were conducted w ith the involved officer an d oth -'r
        w itnesses.

    •   i\ vai lat Ic., r •ports w 'r' n.:v i ·w d .
                                                1




Facts: It i ' all e1ged tha t Employee 95 violated RPD 00[ 1106-03 DCI/ N I
S • urity an d A e s.

T his in vestigatio n r v a le j that Employee 95 allow d her boyfr iend t
co nsistrn tl y opcra tl! h 'r m )tor v ,l,j le knowing thnt his operator's Ii ·ns was
r voked.

Employee 95 1 s boyfrien d's license wc:is r 'vok d indcfinit -ly on No v mb ·r 15,
2019. His li •nsc h al:i ne ver be 'n r" turn<:.d to good sta nclin ,. Employee 95 r, n h •.r
boyfriend 's in format ion throu g h        ]LEADS on May 20, 202'1 , t ·1032 h o urs.



                                                                                              ,)




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 Dur ing h ~r int •r i 'W on                      mitt -•d to runni ng her bl yfri •mi 's
 inf rma tio n for p rs na l 1·easons. When question d, he advised that she knew it
 was a violation of po li y.

 D I 1106-0 st-1tcs, "D(lfrl wl1ich is collecferl rmd sf-ored in O 1/NCIC mus/· have been
gn f-1,ered in !:he perfo n11r111.cc of the elllployee's official du ties. Ont.a whic/1 is not jnb-rel11ted
is no/ fo be submitted. "

H r action. Pprcs nt a co nduct violation. In su n1inary, thcr is , rnplc l!Vid •n , to
support thi s a llegation.

Findings: As to tlP allegation of violat.ion of DO11106-03 D I/N I ·security rmd
t\ c ·cs ·, it i · dee med t , SU TAINED.




Alle ation# 3: 12021-024 I            l Poli y Vi olation DOT ll00-01 Exe utiv c Poli i 'S

Date      ime of Occurrence: Various

    •       ·•tailed int rvi -•ws W ' r      onduct ,d with the involved offic ' r a nd other
          wi tn ·ss i>.

    •     Available r ·ports v.r -re r viewed.

Facts :     Lt is alleged that Employee 95 violated RPO 00[ 1100-01 Executive
Policies.

T h fa tual basis pr v ided in th - a ll g ations li sted above sali ntly d ~mons tral'
p or judgm nt and d ecis ion making on the part f Employee 95.

DOI 1100-01 tatc , "Our core rmfues rrre fundmwnfal ·onvictions mu/ beli~fs thal we
/10/t.l so firmly !hot Ll1ey c11n.nol be altered by circw11slrmces. Our value · 11nd how we cl '.fine
our vn lues serve ns our elhicnl ompnss in mnl in g deci sions nnd tnki11 g actions".

/\s h e r jud nient ' tn l d cision nwl ing wen~ ti d to h 'r r 'pr ' hcrn; ibk one.Ju ·t,
1 hey will be ~ansidered significan t conduct violation . Jn s ummar ,, the re is ample
evid ence to s upport thi s a ll egation.

Findin s: As to the a ll -'gation of viol a ti on f DOI 1'!00-01 Ex               utivc Poli L'S, it is
d· m dtob-S USTAINED.


                                                                                                         4

                 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                               003678
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AIJegation# 4: 12021-026 Violation of N G 14-259 H ar boring                )f   Ai ling     ' rtain
Pe rsc ns

Date/Time of Occunence: October 24, 2021 - October 26, 2021

    •   Detailed inter view s were conduct d w ith the involv ed             ffi    r a nd     thcr
        witnesses.

    •   /\vai labl r ·ports wer' r 'Vi   'Wt:   :I .

hcts: It is allcg d tha t Employee 95 violated N             S 14-259 Has boring or Aidin g
  ertain Persons

Ra lc rgh Police we r· ·umrnon d to Employee 95 's .resid e nce by neig hbo rs who
reported a n o n oin g domes tic violence situalion. She initiall y refuse d to an swer
Lh c door bu t ultirnate1y exited her resid ence to sp al< wi th officers . H er boy fri ·' nd
had assau lted her and fl ed from t he sc •nc vvith h •r motor v •hj [, a nd bank a n .I.
As a resul t of tha t inv ·s ti ga tion, a warrant fo r Assault o n a fi •n:rn le w as drc wn on
h r boy fri ncJ, a fa t tha t sJ1e .vas mad awaJ·c of on the n igJ1t of the assaul t by the
investigR ting offic ''r.

Her boyfri end fled the stat - and w as track ed to the Washington D. ~- ar •a . Tl1 e
investigation re v ~ale l that h ·' r oyfri ' nd ha I returned to the Ra! ·i,gh a rea scv · r al
days lat ' r . fficers inv es tiga ting the a, became aware of hi s location through
in.ve.-tip-a ti vc m -ans and observed h a nd Employee 95 en ter her motor ve hicle
a n -l begin d rivi ng away from h -r r siden e .

f\ v ,I,iclc stop was pcrfonne I shortly th r •a fte r. Employee 95 w, s d riving th ·'
v ' hid -' wh n it wa · stopp, l. Her boyfri "nd was t ken into ustody 011 the
o u tstanding cha r s. Upon exi ting the v · hide, s he sp ntaneously utt re :l " I rea ll y
fu k I up" to o ne of th' officer involved in the vchicl s top .

During her intervi w o n Nov em ber 211 d, s h • dm itted to be in g on tact 'd by he r
boyfr iend via t le1 h on and pi ki ng hi m up at a r "sid encc in So uthwest Ra leig h.
She fu rth. r a cl m itt d to bringing ll im t h r resid nee and allowing him to s pend
severa l da ys there. Durin g this same interview, s he ·1 drnitted tha t s he never a.II -'cl
911 or made con tact with any memb r of RPD r -·gardin g h r k now l 'dg' of th :,
wanted fu gitive's location. In fact, s he I, t ' r sta ted th at sh e probabl y would not
hnvc n tifi "d RP] abo ut his w h 'l' abL u.t.. " h ' ,,vas fully aware of th' o utstanding
warrunt an l th e I n g ths RP O w ·:is goin g to i.n an attempt to locate him.



                                                                                                  5

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 he ·1gain sta ted that sh~ was aware Ll"k t she had been given a direct order no t to
bring th firearms to IPr residen ' ln his pr sen e ncl chose to wi llfu ll y vio late                        ...
the order.

 N       14-259 stat'·, " fl ~hol/ 1-,e u11lrm~fi.,! for ally persun knowing or /1rroing rensow1ble
 muse l-o believe, /./wt such person is oJugilive ji-0111 justice or is ol/1 'rwise the subject of n11
outshznding wr11Trtrll-Jor arrest or order of nrrest, to conceal, hide, harbor, ji?•rl, clolhe or
olher(()ise nid and comfort in {//1.'f rnrmner lo rrny su ft person . Fugiti've fro111 jus tice slw/1,
for lhe purpose of l'his provision, 111ean nny person wlw lwsfleri from nny utlwr juristliclion
 to nvoid proseculion for n crime".

The fa .ts of th.is investigation w re submitted to the We k . a unty Distri t
Attorney'!, Offi e for review. The cleci ion to pros' utc this case -rimi n, lly wns
d eclined by the Wake ounty I ish:ict /\ttorn ~y's ffic ·. As suLh, th ere will be no
c rimi nal r ' per us.s ions.

R g r •ttably, the e l mcnts of the cr im have been m et and wi ll the refor                       be
co ns idered for th e administrntiv in vestigation.

TJ, s ac tions r "prcs •nt s ig nific-rnt on<lu ·t vlolations.       In summary, th ere is am ple
·v idcn ·c to Sll ) port this , !legation.

As such, the allegation of violation of NCGS 14-259 Harboring or Aiding Certain
Persons, is d eemed to b- classified ;;is SUSTAINED (adm inistr, tivel y).



Alle .ation #5: I202J-026 D I P l icy Vi olatio n 1104-04 ~omplia nc - with Lnws,
Rcgu lt1t ions nnd      r I rs.

Date/[ime of Occurrence: October 24, 2021 - October 26, 202·1

    •   D "ta iled in tervi   W!-i   w   'I''   ond 1..1 t d vvitl1 th involved officer and oth •r
                                                        1


        w itn •s, cs.

    •   Availab l • reports were rcvi wed.

Facts: lt is a ll ;ed that Employee 95 viohtcd D                    f 11()4-04 \nn1 Jinnce with
Laws, R gu latio ns and C r Jen;.
          1




For a full summ ary of th e factual basis r gard ing this cas , sc' the a llega tions listed
in Alleg· tion #4.



                                                                                                    6

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Durin g her in tcn ri w on N o v •mb •r 2m 1, Employee 95 ad mitt J thnt sh k n w h er
a tio ns r ,ga rd ing h id in g a nd allow in :i- he r b<. yfri ~nd to s tay at he r resid nc w r '
agains t the law . Sh also k nowingly v io la t d a dir ct ord r g iv n to h -·r by a
_u per viso r regard ing possess ion of her fi r arms at her resid nee. f jnally, she
adn1i tt d to w ith.h olding s ubs tan tia l i nfornu:ition fr rn RPO regarding an active
fu gi t-iv ' inv s ti gati on fo r wh ich s he was the vi tim. ln fact, she s tutcd that ·h · w as
no t going to ma k , RF' D aware that h, ha I in fa t re turned to Ra1cigh.

I O J 1104-04 s tates, "A ll Departmental empLoye •s shall abide by all laws and ordinances.
Any ,ne111her violating any law or ord inance moy he s ubject to disdplinm y act inn including
dismissal ".

T h.es ' a tions r •pres n t signifi a nt ondu ' l· violatio ns . J n sumrnary, th r is a mpl e
 v idence to su p1 ort this a ll ega tio n.

As su ch, the allegation of v iola ti on of RP O DO11104-04 Compliance with Law ,
Orders and Regu lations, is deem ,d to b class ifie d as S USTA IN D.




AJlegation #6: 12021-026 D .I Polky Viol tion 1104-02 Deporlme nl -                              ondu ct
Dx pe ted of an Em p loyee

                                    Octob er 24, 2021 - Octob · r 26, 2021

    •     "tai led int 'rvie ws w ere        ondu ted wi th th         in volved offi er a nd o ther
         witn ess s.

    •    Ava ilab l re ports were rev i ·wed .

Facts: lt is all , r .,d th.at Employee 95 vi< lat d D I 1104-02 eportm "nt -
                                                         1                                       ond uct
Rx1 -' ·t -•d of an E1n ploy   'C


For a fu ll summary of the fact ua l basis regard ing this case, sec th ' allega tions listed
a bov !

D I 1104-02 s tates, " /:, mployees hnll mnintni11 a level of co,uiu cf in !heir pe r onnl n11 d
busine.. s rrf!nirs Oil duly ns well as off rlu~1; when l'he employee's con rlucl hns a co11 11eclion
t-o or i111pa ·f- on the employee's ojfi cinl du tie L-1111 1 is r:011 ist -r1l wit/1!he Jiighesl slnndards
of /1,e Imo e11Jorce1J1enl profession. U11ncceplnble co11rluct is defined ns conducl' wlzich nwy
be rensonably interpreted to disn.1 pf- lmrrnony and coopernlive working re/(lfionships


                                                                                                         7

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                                                                                              Exhibit K

                                                                            12021 ~024 & 026

r1111011g co-worl !r., dm1111ge clo ·e war/ ing refolions/Jips, i111.pede tl1e pe1jon nrmce ~( the
e11Lployee's duties, inte1:fr!re with the opemtion of the Oep11rl 1nent, unclrrmine U,e 111issioJL
of the Department, conflict wilh the employee's re ·pollsibililie ·· within lite DepnrlwenL,
de111onst:mf , r.lisrespecl- nnc/ iJ1su.b rdinntion, or r1buse the authority nnd public
nccountnbilil-y N111l lhe en1ployee's role entails. uch nctions include but r1re not li111il ·d lo
any w nri11ct or od of rnomf lurpilur.le w/1ic/1 nwy be reasonably be interpreted to disrupl
nr iwpair the opern lion, eff1ciency, or nbildy of the employee nnd/or the Depa rim en t to mee t
their illm enfm"emenl obligol'ions .

Emp:loyee 95's         onci uct as identifi d in both investigations, saliently
d ' monstrates viola ti ons of nearly every aspe t of this pol icy as it P lates to the
co11d u t xpected of an RPO employee.

H -r conduc t clearly had an impa to n her ffi ial lu ti s demonstra ted                she
                                                                                      w]Pn
misused poU ' inv stigativ i~ softwar' fm personal reasons, her ac tions caused
si 1 nifi an t d isrupti n to th r imin a l inv stiga tion b ing conduc ted to lo at b ~r
boyfriend who was a fugitiv from jus ti c. Her condu t wus also d isruptive to
working r la h c nsh ip s w ith a number of :tiff 'ren t units ··1ttempling to assist h r in
her dom sti violence case. "I hey "l'tainly int ·r f red with th o p ration of the
D ·partm n t and nflicted with her r s ponsibiUti es as an RPO employee. Sh e also
                                             1


fil ,d fo r a VP       H"r the assault o n Oc tober 7th and fa iled to follow throu gh with
it.

I-for cond uct can easi ly and reasonab ly b - interpreted as d is rupti ve and irn pairin v
to th -• op •ra tion, cffi i ncy an:-! a bi lity oJ the ernployee nd / or the Departrn -•nt to
rneet th ir law nforccincnt o bl iga tio ns .

These actions represent significant condu t violatio n ' . ln summa ry, th.er is nmpl e
evid ence to supp ort this allegation .

As s uch, the all g tion or violation oJ RPD DO I 1104-02 Deportmen t - Con duct
Expected of an Employee, is deemed to be lass ified a SUST A LN ED.

Recommendation:

Th "S allega tions are suppor t •cl on th -ir own by th ' afor -•mcnlioned vid -nee and
cons ti tut si ·nificant conduct v iula tions, ·is su h, the pro 6ri·essi v di sci plinc matrix
nc •d nol be (ollow :1d.

Whi le individ ual violations of tlPs ' poli i 'S would not ne ~•ssa ri ly wmrant a
reco mrn mlation f r te rrnim1tion, th - "· trem seriou sness and d grcc of the




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                                                                          Exhibit K

                                                             T2021-024 & 026

combined act ions of Employee 95 ar · c1ggravating factors and as a result the
recommend ation is termination frot 1 em pl oym nt.


Major D.A. Dik
Office of Professional Standard ,
Raleigh Police Department
December 16, 2021


Served by:   L)r\\.~
Received by:  !----~
Date:   ~,~~ S t {tJ l L




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